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                               EXHIBIT C
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 18, 2020
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                  )
     In re:                                                       )   Chapter 11
                                                                  )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                                  )
                                      Debtor.                     )
                                                                  )

                              ORDER DENYING MOTION
          FOR ORDER IMPOSING TEMPORARY RESTRICTIONS ON DEBTOR’S ABILITY,
         AS PORTFOLIO MANAGER, TO INITIATE SALES BY NON-DEBTOR CLO VEHICLES

              This matter having come before the Court on the Motion for Order Imposing Temporary

     Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor CLO

     Vehicles [Dkt. No. 1528] (the “CLO Motion”), 2 filed by Highland Capital Management Fund

     Advisors, L.P. (“HCMFA”), and NexPoint Advisors, L.P. (“NexPoint, and together with


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
        Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the CLO
     Motion.



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HCMFA, the “Advisors”), Highland Income Fund, NexPoint Strategic Opportunities Fund, and

NexPoint Capital, Inc. (together, the “Funds,” and collectively, with the Advisors, the

“Movants”); and this Court having considered (a) the CLO Motion and evidence submitted in

support thereof, (b) the Debtor’s Response to Motion for Order Imposing Temporary

Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor CLO

Vehicles [Dkt. No. 1578] (the “Opposition”), filed by Highland Capital Management, L.P. (the

“Debtor”), and the evidence submitted in support thereof, (c) the oral and documentary evidence

admitted into evidence during the hearing held on December 16, 2020 (the “Hearing”), and (d)

the arguments made during the Hearing,

        It is hereby ORDERED that:

        1.       The CLO Motion is DENIED in its entirety.

        2.       The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

                                        ###End of Order###




                                                  2
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